                Case 1:06-cr-00271-AWI Document 82 Filed 06/21/07 Page 1 of 1


1    MCGREGOR W. SCOTT
     United States Attorney
2    Kathleen A. Servatius
     Assistant U.S. Attorney
3    2500 Tulare Street, Suite 4401
     Fresno, CA 93721
4    (559) 497-4000

5

6

7
                                IN THE UNITED STATES DISTRICT COURT
8
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,     )                 CASE NO. 1:06-CR-00271    AWI
11                                 )
                       Plaintiff, )                  ORDER TO CONTINUE SENTENCING HEARING
12                                 )
           v.                      )
13                                 )                 DATE: July 9, 2007
     DANIEL SALAS,                 )                 TIME: 9:00 a.m.
14                                 )                 COURT: 3
                       Defendant. )
15   ______________________________)

16

17
              Good cause appearing, defendant Daniel Salas’ sentencing hearing,
18
     currently set for July 9, 2007, is hereby continued to July 30, 2007 at 9:00
19
     a.m. in courtroom 3 and that time is excluded pursuant to the Speedy Trial
20
     Act.
21

22

23   IT IS SO ORDERED.

24   Dated:    June 20, 2007                          /s/ Anthony W. Ishii
     0m8i78                                     UNITED STATES DISTRICT JUDGE
25

26

27

28




                                                 1
